       Case 2:21-cv-00545-WJ-CG Document 13 Filed 10/19/21 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

CUSTOM TRUCK ONE SOURCE, INC.,
formerly known as Nesco Holding, Inc., as
successor to Truck Utilities, Inc.

             Plaintiff,

v.                                                  No. CV 21-545 WJ/CG

BIGHORN CONSTRUCTION AND
RECLAMATION, LLC, also known as
BCR Companies,

             Defendant.

             ORDER SETTING TELEPHONIC STATUS CONFERENCE

      THIS MATTER is before the Court after conferring with counsel about a mutually

convenient date and time. IT IS HEREBY ORDERED that a status conference will be

held by telephone on Tuesday, January 4, 2022, at 10:00 a.m. The parties shall call

Judge Garza’s AT&T Teleconference line at (877) 810-9415, follow the prompts, and

enter the Access Code 7467959, to be connected to the proceedings.

      IT IS SO ORDERED.



                                 THE HONORABLE CARMEN E. GARZA
                                 CHIEF UNITED STATES MAGISTRATE JUDGE
